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                                     IN THE UNITED STATES BANUPTCY COURT

                                             FOR THE DISTRICT OF DELAWAR

 In re:                                                    )         Chapter 1 1
                                                           )
                                             1
 W. R. GRACE & CO., et aI.,                                )        Case No. 01-1139 (JKF)
                                                           )        Jointly Administered
                                     Debtors.              )
                                                                        Objection Deadline: April       10, 2009 at 4:00 p.m.
                                                                             Hearing Date: April       27, 2009, at 10:30 a.m.


            CERTIFICATION OF NO OBJECTION REGARING MOTION OF DEBTORS
             FOR ENTRY OF AN ORDER APPROVING STIPULATIONS RESOLVING
              PROOFS OF CLAIMS OF CERTAIN PRP GROUP/ENTITIES PURSUANT
                 TO THE EP A MULTI-SITE AGREEMENT rDOCKET NO. 209571


                          The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the Motion 0/ Debtors for Entry of an Order

Approving Stipulations Resolving Proofs of                Claims o/Certain PRP Group/Entites Pursuant to

the EPA Multi-Site Agreement (the "Motion") filed on March 10,2009. The undersigned fuher

certifies that he has caused the Court's docket in this case to be reviewed and no answer,



1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/ka Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/ka Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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objection or other responsive pleading to the Motion appears thereon. Pursuant to the Notice of

Motion, responses to the Motion were to be filed and served no later than April 10,2009 at 4:00

p.m.

                  It is hereby respectfully requested that the Order attached to the Motion be

entered at the Court's earliest convenience.


Dated: April 17, 2009
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                                          Co-Counsel to Debtors and Debtors-in-Possession




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